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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SECURITIES AND EXCHANGE
 COMMISSION,

                        Plaintiff,

        v.
                                                           No. 1:23-cv-01599-ABJ-ZMF
 BINANCE HOLDINGS LIMITED,
 BAM TRADING SERVICES INC.,
 BAM MANAGEMENT US HOLDINGS INC.,
 AND CHANGPENG ZHAO,

                        Defendants.


                                             ORDER

       The Court has considered the motion to seal filed by Defendants BAM Trading Services

Inc. and BAM Management US Holdings Inc. (together, “BAM”). This motion is supported by

good cause.

       It is hereby ORDERED that the motion is granted, and the following documents shall be

maintained under seal: Exhibits 17, 18, 20, 23, 24, 25, 29, 30, and 31 to the Declaration of Jennifer

Farer (the “Farer Declaration”) filed in connection with the Securities and Exchange

Commission’s (the “SEC”) Motion to Compel and For Other Relief and Opposition to BAM

Defendants’ Motion for a Protective Order (“Motion to Compel”), Dkt. No. 102-2.

       It is further ORDERED that the following portions of documents shall be redacted in the

public versions, and the unredacted versions of these documents shall be maintained under seal:

(i) Exhibits 10, 14, 15, 16, 19, 21, and 26 to the Farer Declaration, as highlighted in Exhibits 1

through 7, respectively, of the Declaration of Matthew Beville in Support of this Motion to Seal

(the “Beville Declaration”) and redacted in the versions of documents filed by the SEC at Dkt.
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Nos. 110-2, 110-3, 110-4, 110-5, 110-6, 110-7, 110-8, respectively, (ii) the SEC’s Reply in further

support of the Motion to Compel and for Other Relief and Opposition to the BAM Defendants’

Motion for a Protective Order, as highlighted in Exhibit 8 to the Beville Declaration, (iii) the

Declaration of J. Emmett Murphy in support of the SEC Reply (the “Murphy Declaration”), as

highlighted in Exhibit 9 to the Beville Declaration and as redacted at Dkt. No. 113-1, (iv) Exhibit

A to the Murphy Declaration, as highlighted in Exhibit 10 to the Beville Declaration, and

(v) Exhibit B to the Murphy Declaration, as highlighted in Exhibit 11 to the Beville Declaration.


                                                                            Zia M.
        September 28, 2023
Dated: ___________________
                                                                            Faruqui
                                                     Zia M. Faruqui
                                                     UNITED STATES MAGISTRATE JUDGE




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